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UNITED STATES DISTRICT COURT

DISTRICT OF OREGON
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MITCHELL HERGERT and CivilNoeY 05 BAG Kpe«
JOHN RUSSELL,
Plaintiffs, COMPLAINT
v. (42 U.S.C. § 1983, Retaliation,

oo Whistleblower Protection Statute, ORS
CITY OF PORTLAND, a municipality, 659A.203; Freedom of Speech violations of
PORTLAND POLICE BUREAU and First and Fourteenth Amendment)

LIEUTENANT JEFFREY KAER,

COMMANDER STEVEN BECHARD,

ASSISTANT CHIEF JIM FERRARIS, and DEMAND FOR JURY TRIAL
CAPTAIN DARRYL SCHANK

individually and in their official capacity,

Defendants.

NATURE OF THE ACTION
1. This is an action under 42 U.S.C. § 1983 to compensate plaintiffs for defendants’
deprivation of plaintiffs’ property interest, liberty interest and loss of reputation in the
community. Plaintiffs also alleges they were retaliated against for speech protected by the First

Amendment, namely protesting the public employee’s actions, management actions all of which

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were matters of public concern, including but not limited to police preparedness, efficacy and
serious violations and misconduct by public employees. Plaintiffs further seek injunctive relief.

2. This is also an action under ORS 659A.203 to vindicate plaintiff's rights and the
rights of other employees to work in environments free from retaliation for whistleblowing and
to make plaintiffs whole.

JURISDICTION AND VENUE

3. This court has jurisdiction over the subject matter of this complaint pursuant to 28
U.S.C. §§ 1331, 1343, 2201 and 2202. This action is authorized and instituted pursuant to 42
US.C. §§ 1983 and 1988.

4. The court has jurisdiction over plaintiffs’ state law claims set forth in this
complaint pursuant to its supplemental jurisdiction to hear related state law claims under 28
U.S.C. § 1367(a). Both the federal and state claims alleged herein arose from a common nucleus
of operative fact, the state actions are so related to the federal claims that they form part of the

same case or controversy, and the actions would ordinarily be expected to be tried in one judicial

proceeding.
5. The employment practices alleged herein were committed in the District of
Oregon.
PARTIES
6. Plaintiffs, Mitchell Hergert and John Russell residents and citizens of Oregon

and, at all material times, were and are public employees serving as detectives for defendants
City of Portland and Portland Police Bureau. Hergert has been with the Portland Police
Bureau for approximately 12 years, and Russell for approximately 11 years.
7. At all material times, defendant City of Portland (“the City”) was and is a
municipality, organized and existing under the laws of the State of Oregon, was and is an
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employer for purposes of the employment statutes alleged herein, and has continuously had and
does now have more than 100 employees.

8. At all material times, defendant Portland Police Bureau, is an entity within the
municipality of the City of Portland was organized and existing under state law, and has
continuously had and does now have more than 100 employees.

9. At all material times defendant the City and the Bureau are political subdivisions
and public employers within the meaning of ORS 659A.200(3) and 659A.203.

10. At all material times, individual defendants Lieutenant Jeffrey Kaer (“Kaer”),
Commander Steven Bechard (“Bechard”), Assistant Chief Jim Ferraris (“Ferraris ”) and
Captain Darryl Schank (“Schank”) are persons authorized to act on behalf of the City and the
Bureau with respect to control, management or supervision of public employees.

11. At all material times, defendant Ferraris was and is an individual resident and
citizen of Oregon and is the chief of the Portland Police Bureau, and employee for the City of
Portland. At all material times, the City charge Ferraris with, or he assumed with the City’s
knowledge and acquiescence, supervisory authority over plaintiff and over the agents and
employee of the Police Department. At all material times, Defendant Ferraris possessed
policy-making authority for the police department, and, was acting within the course and scope
of his employment. At all material times, Ferraris was aware of, directed or acquiesced in, the
adverse actions taken against plaintiffs by Department employees.

12. At all material times, defendant Lieutenant Kaer was and is an individual
resident and citizen of Oregon and is employed as a supervisor for the City of Portland and its
Police Bureau. At all material times, Kaer was acting within the course and scope of his
employment. At all material times, Ferraris was aware of, directed or acquiesced in, the
retaliatory and adverse actions taken against plaintiffs by himself and public employees.

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13. At all material times, defendant Commander Bechard was and is an individual
resident and citizen of Oregon and is employed as a supervisor for the City of Portland and its
Police Bureau. At all material times, Bechard was acting within the course and scope of his
employment. At all material times, Bechard was aware of, directed or acquiesced in, the
adverse actions taken against plaintiffs by Department employees.

14. At all material times, defendant Captain Schank was and is an individual
resident and citizen of Oregon and is employed as a supervisor for the City of Portland and its
Police Bureau. At all material times, Schank was acting within the course and scope of his
employment within the Internal Affairs Department. At all material times, Schank was aware
of, directed or acquiesced in, the adverse actions taken against plaintiffs by Department
employees.

PROCEDURAL REQUIREMENTS

15. All tort claim prerequisites to filing this action have been timely satisfied. All

administrative prerequisites to filing this action have been timely satisfied.
FACTUAL ALLEGATIONS

16. On September 25, 2003, Detective Hergert in an email to Sergeant Brooks
reported serious misconduct by Sergeant Kimberly Adams, and added that he felt he was
working in a hostile work environment. Sgt. Brooks forwarded the email to Lt. Kaer.

17. On September 29, 2003, Detective Russell turned in a nine page report to Lt.
Babnick, Internal Affairs and to Commander Mike Pace. Among other misconduct, the nine
page document reported the following serious misconduct:

a. Sgt. Adams ordered Detectives Hergert and Russell to investigate a
suspicious death call at a motel in Portland in a manner which violated the Dead
Body Procedure covered in General Orders (G.O.) 631.10. Adams’ orders
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required the investigation begin before the Medical Examiners arrived which
violated Police Bureau policy.

b. After Hergert and Russell began investigating the scene consistent with
G.O. 631.10, they contacted Adams to report that the some personal property
had been stolen off the deceased’s body, suggesting foul play, and they needed
to investigate further by taking witness statements. They requested that Adams
permit them to go the hospital, as urged by the wife of the victim, and
communicate with a cousin who was the last person to have contact with the
victim. Adams refused to allow them to take witness statements to complete
their investigation and ordered them to come back to the office immediately as it
was near the end of their shifts and no overtime was authorized. Russell
reported that this resulted in an incomplete investigation. This concerned
Russell as a matter of public safety and humiliated him when he had to report to
victim’s wife that he was ordered to cease the investigation.

Cc. On another occasion, Adams instructed Russell and Hergert to
investigate a home invasion robbery. At the scene there was a safe that the
homeowner said was full of illegal drugs. Adams ordered both to conduct a
hurried investigation and instructed Russell to leave the safe, which Russell felt
there was no reason not to seize. Later Russell and Hergert discussed with
Adams the multiple violations of G.O. 640.10 which she had ordered at the
scene, such as instructing plaintiffs to talk with witnesses before talking with the
crime scene supervisor. At that scene, Adams insisted that they only conduct a

“minimal” investigation. Russell reported how this meeting frustrated him and

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Hergert, and that it was only one example of many in which she violated several
G.O’s and interfered with a major crime scene and investigation.

d. Russell reported that on another occasion that he and Hergert completed
the appropriate memoranda and training applications to attend a specialized
crime scene class in Eastern Oregon. The memorandum was given to Adams,
the first appropriate person in the chain of command. Adams refused to send
the memoranda and applications further in the chain of command which violated
relevant G.O.’s.

18. On or about September 30, 2003, Hergert spoke with Commander Pace about
fear of retaliation for the reports he made regarding Adams.

19. On or about October 13, 2003, Hergert reported serious misconduct by Adams
to Lt. Kaer. At that time, Lt. Kaer chastised Hergert for going outside the chain of
command.

20. On or about October 29, 2003, Hergert contacted Sgt. Sue Kruger, Internal
Affairs (I.A.), and requested an interview with I.A.

21. On October 31, 2003, Hergert spoke with Commander Bechard regarding his
complaints about Adams’ serious misconduct. Bechard was intimating and threatening during
that meeting and threatened a retaliatory transfer of Hergert to a different department.

22. On or about November 4, 2003, Russell provided a detailed statement reporting
serious misconduct on matters of public concern to I.A. during his first I.A. interview.

23. On or about November 25, 2003, Hergert provided a detailed statement
reporting serious misconduct on matters of public concern to I.A. during his first I.A.

interview.

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24. The combined statements made by Detectives Hergert and Russell resulted in
plaintiffs reporting violations by a public official and management involving actions which
included: criminal behavior in violation of ORS 133.140 (Ordered Not to Arrest Subject with a
Warrant)(Russell reported that he was ordered by Adams not to arrest a suspect with a felony
warrant which involved a homicide investigation); ORS 166.065 (Harassment); ORS 162.415
(Criminal Misconduct); General Order violations including violations of G.O. 640.10 (Crime
Scene Processing); G.O. 631.10 (Dead Body Procedure - Homicide Investigation); G.O.
330.00 (Investigator Responsibilities - Confidential Integrity of case); G.O. 315.00 (Laws,
Rules & Orders); G.O. 840.00 (Arrest with Warrant); G.O. 310.50 (Truthfulness); G.O.
310.40 (Courtesy); G.O. 310.00 (Conduct, Professional); G.O. 315.30 (Unsatisfactory
Performance); G.O. 310.70 (Dissemination of Information); and G.O. 910.00 (Field Reporting
Handbooks Instructions); and violations of the terms of the collective bargaining agreement
including Section 43.11 (12-hour rule)(Russell filed a union grievance); Section 20.11
(Discipline)(Hergert filed a union grievance); and Section 23.3 (45-day Transfer Notice).

25. At all material times, defendants were acting under color of state law.

26. The conduct which plaintiffs reported demonstrated defendants’ abuse of
authority, and substantial and specific danger of public health and safety as a result of the
defendants’ action.

27. As a result of plaintiffs exercising their constitutionally protected speech and of
their whistleblowing violations of serious misconduct, plaintiffs were subject to retaliation,

including but not limited to the following:

a. On or about October 12, 2003, plaintiffs were shunned by co-workers at

a homicide crime scene.

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b. On or about October 16, 2003, Lt. Kaer denied Hergert pay for work
because “Russell filed a grievance.”
Cc. On or about October 16, 2003, Sgt. Brooks reprimanded Russell for
going outside the chain of command and filing a complaint, and asked that he
apologize to Lt. Kaer.
d. On or about October 22, 2003, Sgt. Brooks told Russell that Kaer
wanted Russell transferred out of Kaer’s department and to the Tactical
Operations Division, Gang Enforcement Team (TOD/GET) unit.
e. On or about October 29, 2003, Lt. Kaer told Sgt. Dolby that Hergert’s
career is not salvageable, that Hergert and Russell need to be separated, and that
one of them needs to go to TOD/GET.
f. On October 29, 2003, Lt. Kaer called Russell into his office. This was
the first time Kaer had spoken with Russell since Russell’s nine page report on
September 29, 2003. During that conversation Kaer threatened Russell by
comparing Russell’s reporting misconduct and the effect that would happen to
Russell to that of an officer who was put on administrative leave for a criminal
act, the officer was almost fired and almost went to jail.

Kaer began the meeting by telling Russell that Adams had given her I.A.
interview already and she talked along time. Kaer showed Russell the interview

tapes. Kaer said he doubted Russell would talk that long since he is “quiet.”

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Kaer then gave Russell a revised I.A. Notice listing Portland Police Bureau as
the complainant instead of Russell. This was intended as a warning to Russell.
Russell then told Kaer that he was concerned of now being ambused in an I.A.
interview because the notice listed Sgt. Adams and the Bureau as complainants.
Kaer laughed and then tried to talk Russell out of hiring an attorney. Russell
explained how stressed he had become since reporting the misconduct. Kaer
minimized it and kept insisting that Russell not hire an attorney.

Kaer then said that he had to warn Russell that he would be subject to
accusatory questions in his I.A. interview. Kaer compared Russell’s reporting
misconduct to situation involving another officer in which that officer was “10-
2” (a required administrative leave for serious criminal investigations that
embarrass the Bureau). The situation Kaer referred to involved the officer being
put on administrative leave for an extended period of time while the district
attorney investigated whether to charge the officer with assault and kidnapping.
This meeting was intended to threaten and coerce Russell not to proceed with
the complaint because the consequences would be grave and humiliating.

g. On October 31, 2003, Lt. Kaer threatened to discipline Hergert after he
requested legal counsel. In retaliation for a October 16, 2003 memorandum that
Hergert returned to Commander Bechard stating Hergert would not be available

for an I.A. interview on October 24, 2003 due to a “doctor’s appointment and

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because he needed more time for legal representation,” Lt. Kaer threatened
Hergert with insubordination and discipline in a memorandum to Hergert dated
October 31, 2003.

h. On October 31, 2003, Hergert spoke with Commander Bechard
regarding his fear of retaliation. During that meeting, Bechard responded to
Hergert in an offensive, intimidating manner and threatened to transfer Hergert.
i. On November 11, 2003, Hergert was transferred to TOD/GET as
ordered and approved by Asst. Chief Ferraris.

j. On November 11, 2003, Kaer told Russell that the chief’s office is
“salivating to ‘10-2’” him. On that same day Lt. Kaer conducted his I.A.
interview of Russell asking Russell numerous questions that were outside of the
scope of the investigation (violating the union contract and Officer’s Bill of
Rights). Throughout the interview, he degraded Russell for filing the
complaint. Kaer also told Russell during that meeting that he and Hergert were
being looked at for insubordination since they requested extensions to hire an

attorney before giving a statement.

1. On or about November 13, 2003, Russell went on stress leave and
sought medical attention.
m. On or about November 18, 2003, Hergert went on stress leave and

sought medical attention.

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n. On or about December 1, 2003, Kaer called Hergert at home and
ordered him to come in and do I.A. interview against the orders from Hergert’s
medical providers.

28. In response to plaintiffs’ complaints concerning Adams’ conduct, Kaer continued
to blame plaintiffs for the reported issues and label them the problem.

29. Under the direction of Captain Schank, and as further retaliation of plaintiffs
exercising their free speech rights, the I.A. investigation conducted by Sgt. Krueger, was
incomplete, and focused solely on the lesser issues in plaintiffs’ complaints. When plaintiffs
requested investigation into what they complained, I.A. refused, thereby failing to properly
investigate.

30. On or about March 11, 2004, plaintiffs filed official complaints with the State of
Oregon’s Bureau of Labor and Industries (“BOLI”).

31. Following their formal complaints and their March BOLI complaints, plaintiffs
were further discriminated against, harassed and retaliated against. On or about March 31,
2004, Kaer further retaliated by stating to the Fireman’s and Police Retirement and Disability
Fund charged with handling both plaintiff’s disability claims that Russell was being
investigated for insubordination and untruthfulness and alleged that Hergert was failing to
cooperate in the J.A. investigation. Both of which were inaccurate statements intended to
retaliate and interfere with plaintiff’s disability claims.

First Claim for Relief

(Violations of 42 U.S.C. § 1983 — Free Speech Retaliation)
32. Plaintiff incorporates by reference the allegations of paragraphs 1 through 31.
33. Plaintiffs complaints to the City, the Bureau, the Internal Affairs Department

and the individual defendants implicated matters of public concern, including but not limited

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to: (1) misuse of power, resources, and authority by a management level public employee of
the City; and (2) substantial and specific danger to public health and safety.

34. | Defendants acted under color of state law, and in the course and scope of their
employment and violated plaintiffs’ rights under the First Amendment right to freedom of speech
when the City retaliated against plaintiffs for speaking out on matters of public concern. The
retaliation includes, but is not limited to: (1) the alterations of the terms and conditions of
plaintiffs’ employment; (2) transferring both plaintiffs to positions and units they did not want to
work at; (3) reporting false information in an attempt to affect their disability rights and claims;
and (4) defaming plaintiffs’ professional reputations and all other retaliatory actions described
above in this complaint.

35. Asaresult of the City’s violation of plaintiffs’ constitutionally guaranteed rights,
plaintiffs have suffered economic damages due to their need to take disability stress leave in an
amount to be determined at the time of trial.

36. As a further result of the City’s violations of plaintiffs’ constitutionally
guaranteed rights alleged herein, plaintiffs suffered and continues to suffer severe emotional
distress, mental pain and anguish, damages for impaired reputation, and humiliation and other
non-economic compensatory damages sufficient to compensate them for emotional pain and
suffering and other non-economic losses, in an amount found appropriate by a jury.

37. As a result of the unlawful actions alleged herein, plaintiff has suffered

economic damages and medical expenses.

38. As a result of the unlawful actions alleged herein, plaintiff has also suffered lost

wages and benefits of employment and is entitled to recover his lost wages, past and future,
and medical expenses and other incidental expenses incurred in connection with his injuries
caused by the actions alleged herein.
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39. Defendants, Kaer, Bechard, Ferraris, Schank’s, conduct in their individual
capacity were intentional or in reckless disregard for plaintiffs’ federally protected rights.
Such conduct exceeds the bounds of social toleration and is of a sort that would be deterred by
an award of punitive damages. Plaintiffs are entitled to recover from each defendant punitive
damages in an amount found appropriate by a jury to punish defendants and to deter similar
conduct by these defendants and others in the future.

37. Plaintiff was required to hire an attorney to prosecute this action and is entitled

to an award of reasonable attorneys fees, expert fees and costs incurred herein, pursuant to 42

U.S.C. § 1988.
SECOND CLAIM FOR RELIEF

(ORS 659A.203 - Public Employee Whistleblower Claim)

38. Plaintiffs reallege and incorporate paragraphs 1 through 31.

39. Plaintiffs disclosure to their superiors of serious misconduct by a public official
was a disclosure that plaintiffs reasonably believed was evidence of a violation of law and
mismanagement, gross waste of funds, abuse of authority, and/or a substantial and specific
danger to public health and safety pursuant to ORS 659A.203 resulting from public action.

40. The City and Bureau retaliated as alleged above and treated plaintiffs as the
problem, threatened discipline, threatened transfers, transferred plaintiffs to less desirable job
positions, interfered with plaintiffs’ disability claims, and accused both plaintiffs of
insubordination and untruthfulness.

41. As a result of the defendants’ violations of plaintiffs’ guaranteed rights, plaintiffs
have suffered economic damages in an amount to be determined at trial due to their need for
disability stress leave, their suffering from severe emotional distress, mental pain and anguish,
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damages for impaired reputation, and humiliation and other non-economic compensatory
damages sufficient to compensate them for emotional pain and suffering and other non-
economic losses, in an amount found appropriate by a jury pursuant to ORS 659A.885(4).

42. Plaintiffs are entitled to recover their reasonable attorney fees and costs pursuant

to ORS 659A.885(a).

THIRD CLAIM FOR RELIEF
(Intentional Infliction of Emotional Distress)
(Against All Defendants)

43. Plaintiffs incorporate by reference the allegations of paragraphs 1-31.

44. Defendants committed the acts alleged herein intentionally to cause plaintiff to
suffer severe emotional harm or under circumstances in which it was substantially certain he
would suffer such harm.

45. Defendants’ acts were done intentionally with an improper, abusive and

discriminatory motive.

46. As a result of defendants’ acts, plaintiff suffered severe emotional harm,
humiliation, and embarrassment as alleged herein for which he should recover from
defendants.

47. Defendants’ wrongful actions toward plaintiffs, entitles them to economic and

noneconomic damages all in an amount to determined at the time of trial.

PRAYER FOR RELIEF
WHEREFORE, plaintiffs request the court to:

1. Assume jurisdiction over each of the causes set forth herein.

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2. Grant a permanent injunction enjoining defendant, its owners, officers,
management personnel, employees, agents, successors, and assigns, and all persons in active
concert or participation with defendant, from engaging in any employment practice which
retaliates against an employee on the basis of their exercising their right to free speech and
whistleblowing matters of public concern on such terms as the court may direct.

3. Order defendant to create, implement and carry out policies, practices and
programs providing for equal employment opportunities which affirmatively eradicate the
effects of past and present unlawful employment practices, on such terms as the court may
direct.

4, Order defendants to make plaintiff whole by compensating both plaintiffs for
past and future pecuniary losses, including expenses, impairment of earning capacity, lost past
and future earnings and benefits of employment, and such other losses as are awarded by a
jury or otherwise established at trial.

5. Order defendants to pay plaintiffs awards of compensatory damages for
nonpecuniary losses, including physical and emotional injury, pain and suffering, mental
anguish, humiliation, and embarrassment, and loss of enjoyment of life in an amount to be
determined by a jury.

6. Order defendants to assess an award of punitive damages against the individual
defendants in an amount to be determined by a jury.

7. Award plaintiffs their costs of suit and his reasonable attorney fees, costs and
expert witness fees pursuant to 42 U.S.C. § 1988 and ORS 659A.885.

8. Order defendants to pay prejudgment and post judgment interest, as appropriate,

on all amounts due to plaintiffs as a result of this action.

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9. Order such further or alternative relief in favor of plaintiffs as the court deems

appropriate.

JURY TRIAL DEMAND

Plaintiff demands a jury trial on all questions of fact or combined questions of law and

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fact raised by this complaint.

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